         Case 1:15-cv-00569-BLW Document 20 Filed 04/26/16 Page 1 of 1



                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 DIANE PAGE,
                                                   Case No. 1:15-cv-00569-BLW
                      Plaintiff,
                                                   JUDGMENT
         v.

 PRINCIPAL LIFE INSURANCE
 COMPANY, an Iowa corporation,

                      Defendant.


       In accordance with the Order issued concurrently herewith,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment be

entered and that this case be dismissed in its entirety, with prejudice.



                                           DATED: April 26, 2016



                                           B. LYNN WINMILL
                                           Chief U.S. District Court Judge




JUDGMENT - 1
